Case 2:03-cV-02561-.]DB-STA Document 173 Filed 08/03/05 Page 1 of 3 Page|D 155

IN THE UNITED sTATEs DlsTRICT CoURT F"°ED BY %- D‘c'
FoR THE wEsTERN DIsTRlcT oF TENNESSEE
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NACCo MATERlALs HANDLING ) C, Wla%l§r$gllo%l£r
GRoUP, INC. d/b/a YALE ) ` tig§`i§§£' liftin
MATERIALS HANDLING CoRP., ) ' ` ` '
)
Plaintiff, )
)
v. ) No. 03-2561 B/An
)
ToYoTA MATERIALS HANDLING )
UsA, INC. and THE LILLY Co., )
)
Defendants. )

 

ORDER GRANTING MOTION TO WITHDRAW COUNSEL

 

Before the Court is Defendant The Lil]y Company’s (“Lilly”) Motion to Withdraw As
Counsel filed on July 21, 2005. For good cause shown, the motion is GRANTED. Attorney
Amy Holliman Brown is hereby permitted to withdraw as counsel for Lilly. Mr. Jeffrey C. Smith

and Mr. Mark S. Norris will continue to serve as counsel of record for Lilly.

g/?Z/;ms J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT lS SO ORDERED.

Date: §Z,; Z(DQ\/

   

UNITE sTATEs DISTRICT oURT - wEsTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 173 in
case 2:03-CV-02561 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

